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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                    Case No. 09-20536-8-BC
                                                     Honorable Thomas L. Ludington
v.

D-8 JOHNNY MARSHALL,

                  Defendant.
_______________________________/

  ORDER SETTING DEFENDANT’S MOTION FOR WITHDRAWAL OF COUNSEL
  FOR HEARING AND DIRECTING DEFENDANT’S COUNSEL TO DISCUSS THE
 LIMITS OF HIS RIGHT TO APPOINTED COUNSEL AT GOVERNMENT EXPENSE
   AND THE POTENTIAL CONSEQUENCES OF THE MOTION TO WITHDRAW

         On December 16, 2009, Defendant Johnny Marshall and fourteen co-defendants were

charged with several counts arising from an alleged conspiracy to distribute more than 50 grams of

cocaine base and 500 grams of cocaine in violation of 21 U.S.C. §§ 846 & 841(a)(1). The second

superseding indictment [Dkt. # 182], filed on August 5, 2010, includes many of the same charges

and adds ten additional defendants. Attorney James Piazza was appointed by Magistrate Judge

Charles E. Binder to represent Defendant. On November 4, 2010, Mr. Piazza filed a motion to

withdraw as counsel, contending that “a breakdown in the Attorney/Client relationship” has

rendered Mr. Piazza’ representation ineffective. See Wilson v. Mintzes, 761 F.2d 275, 280 (6th Cir.

1985).

         The Sixth Amendment guarantees most indigent criminal defendants who have been charged

with a felony the right to appointed counsel at government expense. See Gideon v. Wainwright, 372

U.S. 335 (1963); see also 18 U.S.C. § 3006A (providing procedures for appointment of counsel).

The right to appointed counsel, however, has several important limitations. Although a criminal
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defendant who hires, and pays for, his own attorney has the right to select that attorney, Powell v.

Alabama, 287 U.S. 45, 53 (1932), and any defendant, regardless of his financial resources, may

choose to represent himself, a criminal defendant who relies on the government to pay for his

attorney is obligated to cooperate with the attorney that the court selects, see Caplin & Drysdale,

Chartered v. United States, 491 U.S. 617, 624 (1989) (“[I]mpecunious defendants [do not] have a

Sixth Amendment right to choose their counsel.”); Wheat v. United States, 486 U.S. 153, 159 (1988)

(“[A] defendant may not insist on representation by an attorney he cannot afford.”). Accordingly,

an indigent criminal defendant does not have the right to end his relationship with his appointed

counsel unless he has located the funds to select and pay for his own counsel, elected to represent

himself, or established good cause for appointment of a different attorney at government expense.

See United States v. Vasquez, 560 F.3d 461, 466–67 (6th Cir. 2009).

       “A defendant seeking a substitution of [appointed] counsel must ‘bring a serious

dissatisfaction with counsel to the attention of the district court.’ ” Id. (citing Benitez v. United

States, 521 F.3d 625, 632 (6th Cir. 2008)). At that time, the trial court is obligated to “conduct an

inquiry into the defendant’s complaint to determine whether there is good cause for substitution of

counsel.” Id. The inquiry depends on (1) the timeliness of the motion for substitution of counsel,

(2) the extent of the conflict between the attorney and the client, and (3) the balancing of these

factors with the public’s interest in the prompt and efficient administration of justice. Id. (quoting

United States v. Mack, 258 F.3d 548, 556 (6th Cir. 2001)).




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        Here, Defendant has arguably met his initial burden of setting forth a “serious

dissatisfaction” with his appointed counsel. Defendant has indicated that he believes his counsel

is “not working hard enough” and that he is representing Defendant “only for the money.”

However, Defendant’s apparent dissatisfaction must be weighed against the timeliness of the

motion—nearly a year has passed since Mr. Piazza was appointed—and the public’s interest in the

efficient administration of justice. There is a great deal of evidence in this case, and it is likely that

Mr. Piazza has already expended a substantial amount of his time, and the government’s money, on

his representation of Defendant. Mr. Piazza will be permitted to withdraw, and a new attorney will

be appointed at government expense, only if the breakdown in the relationship between Defendant

and Mr. Piazza is “so great that it [has] resulted in a total lack of communication preventing an

adequate defense,” and that Defendant’s assertion that Mr. Piazza is not working hard enough is both

true and good cause for relieving him of representing Defendant. Mack, 258 F.3d at 556; see also

Strickland v. Washington, 466 U.S. 668 (1984) (establishing the constitutional standard for effective

assistance of counsel).

        Accordingly, it is ORDERED that a hearing on Defendant’s motion for withdrawal of

counsel [Dkt. # 296] will be held on December 21, 2010 at 3:00 p.m.

        It is further ORDERED that Defendant’s counsel is DIRECTED to meet with Defendant

in person at least ten days before the hearing, and to explain to Defendant the limits of his

constitutional right to appointed counsel and the potential ramifications of his decision to terminate

his current appointed counsel.

        It is further ORDERED that on or before December 14, 2010, Defendant’s counsel shall

provide written notice to the Court verifying that the required meeting has occurred and that


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Defendant intends to pursue his motion for withdrawal of counsel.

       It is further ORDERED that Defendant’s counsel is DIRECTED to provide Defendant with

a copy of this order.



                                                       s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge

Dated: November 12, 2010




                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on November 12, 2010.

                                                          s/Tracy A. Jacobs
                                                          TRACY A. JACOBS




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